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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
                                                              CASE NUMBER

FEDERAL TRADE COMMISSION,
                                                                           8:19-cv-01728-JVS-JDE
                                            Plaintiff(s)
                            v.


STUDENT ADVOCATES TEAM, LLC, et al.,                                        MEDIATION REPORT

                                            Defendant(s).

Instructions: The mediator must file this Report within 5 days after the conclusion of a mediation
session even if the negotiations continue. If the case later settles with the assistance of the mediator,
the mediator must file a subsequent Report.
1.       X A mediation was held on (date):        June 30, 2020             .

             A mediation did not take place because the case settled before the session occurred.

2.       The individual parties and their respective trial counsel, designated corporate representatives, and/or
         representatives of the party's insurer:
                 X Appeared as required by Civil L.R. 16-15.5(b).
                     Did not appear as required by Civil L.R. 16-15.5(b).
                             Plaintiff or plaintiff's representative failed to appear.
                             Defendant or defendant's representative failed to appear.
                             Other:

3.       Did the case settle?
                     Yes, fully, on                        (date).
                     Yes, partially, and further facilitated discussions are expected. (See No. 4 below.)
                     Yes, partially, and further facilitated discussions are not expected.
                 X No, and further facilitated discussions are expected. (See No. 4 below.)
                     No, and further facilitated discussions are not expected.
4.       If further facilitated discussions are expected, by what date will you check in with the parties?
           August 15, 2020           .

Dated:     July 8, 2020                                                         /s/ Byron Z. Moldo
                                                                                Signature of Mediator
                                                                                    Byron Z. Moldo
                                                                                Name of Mediator (print)
The Mediator is to electronically file original document.

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